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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF LOUISIANA
                                 LAFAYETTE DIVISION


JANE DOE, ET AL.                                     CASE NO. 6:21-CV-00430

VERSUS                                               JUDGE ROBERT R. SUMMERHAYS

EDOUARD D’ESPALUNGUE D’ARROS                         MAGISTRATE JUDGE WHITEHURST


                                   ORDER OF RECUSAL

       Pursuant to 28 U.S.C. §455, I hereby disqualify myself from the handling of the above-

captioned matter. Accordingly,

       IT IS HEREBY ORDERED that this matter is referred to Chief Judge S. Maurice Hicks,

Jr. for reassignment to another judge in accordance with the Court’s Standing Order 1.62.

       THUS DONE in Chambers on this 30th day of March, 2022.




                                                       ROBERT R. SUMMERHAYS
                                                    UNITED STATES DISTRICT JUDGE
